                                                                                      Lathrop Aff. Ex. 1
      CASE
MPD CAPRS  0:07-cv-04929-DSD-JJK
          Case Report With SupplementsDocument  17-1 Filed 10/07/08 PagePage
                                      - MP-06-272523                     1 of105
                                                                              4 of 123
 Supplement number: 42               CCN: MP-06-272523   Author:                 001614 - Nancy Dunlap

 Supplement of SGT N.Dunlap #001614 on 10/04/2006 02:20
 DISPATCH RECORDING
 CCN 06-272523
 Transcribed by htlnd

 23:33:39 SECONDS SEPTEMBER 20,2006

 S: 320 We could not find anybody. GOA

 D: Copy 2333

S: 221 Clear.

D: Copy that 23:34

D: Same copy added remark

23:34:52 SECONDS SEPTEMBER 20,2006

S: Squad 270 Copy your switch

23:35:24 SECONDS SEPTEMBER 20,2006

D: Squad 320.

S: 320.

D: Squad 320 check on a second hand report of a domestic argument 3952 Bloom.

Got it.

23:37:40 SECONDS SEPTEMBER 20,2006

D: Squad 320 the ex-boyfriend involved now is out in front threatening to kill a resident and her son. DOMINIC
FELDER, black male, 27, 5 foot, medium build, brown shirt, blue jeans.

S: Copy.

23:38:46 SECONDS SEPTEMBER 20,2006

S: 320 will be arriving in a block

D: 320 on Bloomington at 23:38.

23:39:44 SECONDS SEPTEMBER 20,2006

D: Squad 321 Copy Code 4 on Cedar 23:39.

23:40:24 SECONDS SEPTEMBER 20,2006

S: 320 (radio cuts out)

D: Squad 320 status?

S: 321 we're out here.

D: Copy.
                                                                                      Lathrop Aff. Ex. 1
        CASE
M P D CAPRS   0:07-cv-04929-DSD-JJK
            Case Report With SupplementsDocument  17-1 Filed 10/07/08 PagePage
                                        - MP-06-272523                     2 of106
                                                                                4 of 123

 S: Send rescue and ambulance code 3.

 D: Copy.

 23:41:02 SECONDS SEPTEMBER 20,2006

 S: 30(?)what was that last transmission?

 D: 321 just stepped out there. Asked for resue and abulance Code 3.

 S: 320 there were shots fired. Rescue an ambulance Code 3. We need a sergeant and some squads.

 D: Officer needs helps. Shots fired 3952 Bloomington. Officer needs help. Shots fired. 3952 Bloomington.
 Squads assisting cover Channel 1.

 S: 320 we do not need help. Need a couple of squads to block. We need the block contained.

 D: Copy a couple of more squads to 3952 Bloom.

 D: Code 4 on the shot. Code 4 on the help call on Bloomington. Code 4.

D: 320 go ahead.

D: 320 go ahead.

S: 330 send it

D: Copy.

S: We need the scene blocked, a couple blocks blocked off here. Block Bloomington from 39th and maybe
40th here and then block 40th.

D: Copy. Need cars to block Bloomington, 39th and at 40th. 330 take 40th. I need a car to take 39th then.

S: 530.

D: 530.

S: 39th and what do you want us to take?

D: Bloomington. 39th and Bloomington just need

S: Squad 510 1 am also en route, do you need anyone?

D: 320 any more squads?

S: Ah, we will probably need about four.

D: Copy. What other locations do you need blocked off?

S: We're (inaudible) down here on 41st and Bloomington (inaudible) be blocked.

D: Copy.

S: (inaudible) take that.

D: Copy 354 and (inaudible) take a location too.

D: Copy and what other locations because 41 and Bloom.?


                                                                                .
https://caprsweb/caprsapp/CaprsReport.aspx?GUID=3bf6fd0c-e3Of-4cda-b3ff-f906fde0ef.
                                                                                     Lathrop Aff. Ex. 1
      CASE 0:07-cv-04929-DSD-JJK Document 17-1 Filed 10/07/08 PagePage
                                                                   3 of14
MPD CAPRS Case Report With Supplements - MP-06-272523                   07 of 123
S: 307's en route.

D: Copy.

S: 330 arriving.

D: 330 at 23:44.

S: 304 can you send it please?.

D: Copy.

23:44:46 SECONDS SEPTEMBER 20,2006

S: 312 Rescue is sitting on the corner can we tell them Code 4?

D: 320 status for rescue.

S: Code 4 for rescue.

D: Copy.

S: 303.

D: 303.

S: 307 will be incident command. I will be responding as Watch Commander.

D: Copy.

23:46:02 SECONDS SEPTEMBER 20,2006

D: 307 if you could advise, do we got enough cars down there?

S: I am just arriving give me a minute.

D: Copy. Thanks.

S: 304 it appears that we do.

D: Copy. Cars that haven't arrived, that haven't been assigned on Bloomington can cancel

S: Squad 510 Able Copy. Cancel.

S: 993 put me out down there.

D: Copy.

23:47:28 SECONDS SEPTEMBER 20,2006

S: 322 Copies

S: 341 do they have enough cars?

D: Affirm they have enough cars.

S Off duty 6305

D: Off duty 6305 go ahead.
                                                                          Lathrop Aff. Ex. 1
      CASE
MPD CAPRS  0:07-cv-04929-DSD-JJK
          Case Report With SupplementsDocument  17-1 Filed 10/07/08 PagePage
                                      - MP-06-272523
                                                                         4 of108
                                                                              4 of 123

S: I am at 2501 Cedar where I saw a couple of curfews. We're at code 4.

D: Copy 23:48.

END OF RECORDING
END of Supplement 42
